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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


                    SUPPLEMENTAL NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed on October
13, 2022, supplemental notice is hereby given regarding the December 1, 2022, hearing session
scheduled to consider various matters under 28 U.S.C. § 1407.

ORAL ARGUMENT:

       •       Please review and plan to abide by the Southern District of New York’s
               requirements regarding public access and masks or face coverings in light of
               COVID-19, which can be found on the court’s website at
               https://www.nysd.uscourts.gov/covid-19-coronavirus. All persons, including
               counsel and associated attendees, must wear masks in the courtroom,
               regardless of vaccination status, unless they are presenting argument to the
               Panel or are otherwise instructed by the Panel.

       •       A transcript of the oral argument will be filed in each docket when it becomes
               available. Parties who wish to order a transcript may obtain the court reporter’s
               contact information from the court reporter at the hearing or from the Panel at 202-
               502-2800 following the hearing.




                                               FOR THE PANEL:



                                               John W. Nichols
                                               Clerk of the Panel
